

Shoulars v St. Barnabas Hosp. (2017 NY Slip Op 03046)





Shoulars v St. Barnabas Hosp.


2017 NY Slip Op 03046


Decided on April 20, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 20, 2017

Acosta, J.P., Richter, Andrias, Kahn, Gesmer, JJ.


18098/98 3592A 7826/00 8633/00 20185/00 20186/00 20187/00 3592

[*1] Yukon Shoulars, Plaintiff-Appellant, 
vSt. Barnabas Hospital, Defendant-Respondent. 
[And Other Actions]


Brian M. Hussey, Wantagh, for appellants.
Zachary W. Carter, Corporation Counsel, New York (MacKenzie Fillow of counsel), for respondent.



Appeals from order, Supreme Court, Bronx County (Stanley Green, J.), entered March 17, 2015, which granted defendant's motions for summary judgment dismissing the medical malpractice claims of plaintiffs Shoulars, Ancrum, Kennedy, Sterlin, and Rice, and from order, same court and Justice, entered April 2, 2015, which granted defendant's motions for summary judgment dismissing the civil rights claims of all plaintiffs, unanimously dismissed, without costs.
Plaintiffs' failure to comply with the rules of practice of this Court makes meaningful review of the orders appealed from impossible and leaves us no option but to dismiss these consolidated appeals. As far as we can discern from the notices of appeal in plaintiffs' appendix, the appendix should contain 11 orders and two transcripts. However, there are only two orders, as indicated above (see  22 NYCRR 600.10[c][2][i]). Moreover, while the April 2, 2015 order incorporates by reference the transcript of the oral argument on defendants' motions, the complete transcript is not contained in the appendix; the portion of the argument in which the court set forth its rulings is not included. Nor does plaintiffs' appendix contain the pleadings or medical records in connection with defendant's motions, which sought summary dismissal of medical malpractice claims (22 NYCRR 600.10[c][2][ii]; see also  CPLR 5528[a][5]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: APRIL 20, 2017
CLERK








